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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                                              )                     Case No 8:06MJ28
                   Plaintiff,                 )
            v.                                )                          ORDER
                                              )
OPO a/k/a “Chayo”                             )
n/k/a Rosario Ramirez-Moreno                  )
                   Defendant.


       The court has been presented a Financial Affidavit (CJA Form 23) signed by the
      above-named defendant in support of a request for appointed counsel. After a review
      of the Financial Affidavit, I find that the above-named defendant is eligible for
      appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
      Amended Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED that James C. Webering is appointed as attorney of record for the
      above-named defendant.

       IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
      provide counsel with a draft appointment order (CJA Form 20) bearing the name and
      other identifying information of the CJA Panel attorney identified in accordance with the
      Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that counsel’s appointment herein is made pursuant to 18
      U.S.C. § 3006A(f). At the time of the entry of judgment herein, defendant shall file a
      current and complete financial statement to aid the court in determining whether any
      portion of counsel’s fees and expenses should be reimbursed by defendant.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
      Federal Public Defender for the District of Nebraska and James C. Webering.

       DATED this 16th day of March, 2006.

                                                  BY THE COURT:

                                                  s/ F.A. Gossett
                                                  United States Magistrate Judge
